Case 2:03-cr-20358-.]PI\/| Document 277 Filed 04/20/05 Page 1 of 2 Page|D 340

 

d
IN THE UNITED sTATEs DISTRICT CoURT FKL .iLLL.
FoR THE wEsTERN DISTRICT oF TENNEssEE
wssTERN DIvIsIoN OSAPRZQ PH q.q
ROBEHT s Dz c'so
UN:TED sTATEs oF AMERICA,

CLEHK Ll.S. D| GT
W.D OF T'N, MEMFH!S
Plaintiff,

vs. No. 03-20358-Ml

STEPHEN LINDLEY,

Defendant.

 

ORDER AMENDING CONDITIONS OF RELEASE

Upon motion of the defendant, consent of the United States,

consent of Pre-Trial Services, and for good cause shown, it is

hereby:

ORDERED, ADJUDGED AND DECREED that Stephen B. Linley iS

authorized to travel to the Northern District of Mississippi for
the purpose of seeking and obtaining employment. All other
conditions of release previously set {R.l4, Order Setting

Conditions of Release) remain in full force and effect.

Entered this 1(% day of April, 2005.

9 m w

gzh P. McCalla
ited States District Judge

    

. ' nCB
healncomp“a
+hedocket$
teme@do“

13»957‘
32@)1:“@"° °“ £_’Z/

Th`r\ dGCUmeT-"
wmhnmee§arm°

gl'l‘?

   

UNITED `sEsTAT DISTRIC COURT - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 277 in
case 2:03-CR-20358 Was distributed by faX, mail, or direct printing on
Apri122, 2005 to the parties listed.

 

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

1\/lemphis7 TN 38103

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

1\/1emphis7 TN 38103--111

LaWrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

1\/1emphis7 TN 38117--571

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Howard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-1

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

